        Case 1:21-cv-02512-CAP Document 1 Filed 06/21/21 Page 1 of 8




                IN THE UNITED STATES DISTRICT COURT
               FOR THE NORTHERN DISTRICT OF GEORGIA
                         ATLANTA DIVISION

DOUGLAS MONZON,                    )
                                   )               Civil Action No.
   Plaintiff,                      )
v.                                 )
                                   )               JURY TRIAL DEMANDED
SUNBELT RENTALS, INC.,             )
                                   )
   Defendant.                      )
                                   )
__________________________________ )

                        COMPLAINT FOR DAMAGES

      COMES NOW, Plaintiff Douglas Monzon (Plaintiff”) and files this

Complaint against Defendant Sunbelt Rentals, Inc. (“Defendant”), and shows the

following:

                           I.     Nature of Complaint

                                         1.

      Plaintiff brings this action to obtain full and complete relief and to redress

the unlawful employment practices described herein.

                                         2.

      This action seeks declaratory relief, liquidated and actual damages, along

with attorney’s fees and costs, for Defendant’s failure to pay federally mandated

overtime wages to Plaintiff in violation of the Fair Labor Standards Act of 1938, as
         Case 1:21-cv-02512-CAP Document 1 Filed 06/21/21 Page 2 of 8




amended, 29 U.S.C. §201 et seq. (hereinafter the “FLSA”) during Plaintiff’s

employment with Defendant.

                           II.      Jurisdiction and Venue

                                            3.

      The jurisdiction of this Court is invoked pursuant to 29 U.S.C. §216(b), and

28 U.S.C. §1331.

                                            4.

      Defendant conducts business in this jurisdiction and is subject to specific

jurisdiction over the claims asserted herein. In addition, a substantial part of the

acts and omissions that give rise to Plaintiff’s claims occurred in this district.

Accordingly, venue in this Court is proper pursuant to 28 U.S.C. §1367.

                                 III.   Parties and Facts

                                            5.

      Plaintiff is a resident of the State of Georgia.

                                            6.

      From on or about July 2017 to October 2019, Plaintiff was employed by

Defendant as a dispatcher. From October 2019 to now, Plaintiff has been employed

by Defendant with the job tittle “account representative”.




                                             2
           Case 1:21-cv-02512-CAP Document 1 Filed 06/21/21 Page 3 of 8




                                         7.

        In both the dispatcher and account representative positions, Plaintiff has

regularly worked more than 40 hours in given workweeks and been paid a salary,

without overtime compensation, calculated at one and one half times his regular

rate.

                                         8.

        Plaintiff’s primary duty in the dispatcher position was tasks involved in

providing dispatching services and not work directly related to the management or

general business operations of Defendant or its customers. Plaintiff’s primary duty

also did not constitute management of the enterprise or a recognized subdivision

thereof.

                                         9.

        Plaintiff’s primary duty in the account representative position has been

discretion lacking inside sales and customer service work. Plaintiff’s primary duty

in the account representative position is not work directly related to the

management or general business operations of Defendant or its customers.

Plaintiff’s primary duty in this position does` not constitute management of the

enterprise or a recognized subdivision thereof.




                                         3
        Case 1:21-cv-02512-CAP Document 1 Filed 06/21/21 Page 4 of 8




                                       10.

      Plaintiff has been an “employee” of Defendant, as that term has been defined

by the FLSA.

                                       11.

      Throughout his employment with Defendant, Plaintiff’s primary duty was

the performance of non-exempt work.

                                       12.

      Throughout Plaintiff’s employment in the dispatcher and account

representative positions, including the period in which Plaintiff was employed by

Defendant in the three years preceding the filing of this Complaint (the relevant

statutory period), Plaintiff regularly worked more than 40 hours in given

workweeks without overtime compensation.

                                       13.

      Defendant is an “employer” as that term has been defined by the FLSA.

                                       14.

      Defendant is a private employer engaged in interstate commerce, and its

gross revenues exceed $500,000 per year and Defendant’s gross revenues exceeded

$500,000 in 2016, 2017, 2018, 2019 and 2020.




                                        4
         Case 1:21-cv-02512-CAP Document 1 Filed 06/21/21 Page 5 of 8




                                       15.

      Defendant knew or had reason to know that Plaintiff regularly worked in

excess of 40 hours in workweeks without overtime compensation.

                                       16.

      Defendant is governed by and subject to the FLSA.

                                       17.

      Defendant failed to pay Plaintiff the overtime wage differential required by

the FLSA, 29 U.S.C. §207 on occasions that Plaintiff worked over forty (40) hours

in a workweek.

                                       18.

      Defendant has misclassified Plaintiff as exempt from overtime.

                                    Count I

                 Violations of the Fair Labor Standards Act.

                                       19.

      Plaintiff repeats and re-alleges each and every allegation contained in the

preceding paragraphs of this Complaint with the same force and effect as if set

forth herein.




                                        5
         Case 1:21-cv-02512-CAP Document 1 Filed 06/21/21 Page 6 of 8




                                              20.

       Defendant has violated the FLSA, 29 U.S.C. §207, by failing to pay

overtime wages for time that Plaintiff worked in excess of forty (40) hours in given

workweeks.

                                              21.

       Pursuant to the FLSA, 29 U.S.C. §216, Plaintiff brings this lawsuit to

recover unpaid overtime wages, liquidated damages in an equal amount, attorneys’

fees, and the costs of this litigation.

                                              22.

       Defendant knew or showed reckless disregard for the fact its actions,

policies, and/or omissions violated the FLSA.

                                              23.

       Defendant’s violation of the FLSA was willful, thus entitling Plaintiff to a

three-year statute of limitations.

                                IV.       Prayer for Relief

       WHEREFORE, Plaintiff respectfully requests that this Court:

       (A)    Grant Plaintiff a trial by jury as to all triable issues of fact;

       (B)    Enter judgment awarding Plaintiff unpaid wages pursuant to the

              FLSA, 29 U.S.C. §207, FLSA § 6, 29 U.S.C. § 206(d), liquidated

                                              6
        Case 1:21-cv-02512-CAP Document 1 Filed 06/21/21 Page 7 of 8




            damages as provided by 29 U.S.C. §216, pre-judgment interest on

            unpaid wages pursuant to 29 U.S.C. §216, and court costs, expert

            witness fees, reasonable attorneys’ fees as provided by 29 U.S.C.

            §216, and all other remedies allowed under the FLSA; and,

      (C)   Grant declaratory judgment declaring that Plaintiff’s rights have been

            violated and that Defendant misclassified Plaintiff as exempt from the

            overtime requirements of the FLSA, and that Defendant’s violations

            of the FLSA were willful; and

      (D)   Permit Plaintiff to amend his Complaint to add state law claims if

            necessary;

      (E)   Award Plaintiff such further and additional relief as may be just and

            appropriate.

      Respectfully submitted,

      This 21st day of June, 2021.

                                            BARRETT & FARAHANY

                                            /s/ V. Severin Roberts
                                            V. Severin Roberts
                                            Georgia Bar No. 940504
                                            Attorney for Plaintiff

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                                        7
       Case 1:21-cv-02512-CAP Document 1 Filed 06/21/21 Page 8 of 8




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